Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 1 of 35 PagelD: 396

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

SHINGO LAVINE, ADAM LAVINE, AND | Civil Action No.: 3:21-cv-17099
AIKO LAVINE,

Plaintiffs,

vs COMPLAINT AND JURY DEMAND

AMERICAN ACADEMY OF PEDIATRICS
INC.,

Defendant

 

 

 

Plaintiffs, Shingo Lavine, Adam Lavine, and Aiko Lavine, by way of Complaint against

the above-named defendant, say:
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 2 of 35 PagelD: 397

NATURE OF ACTION
1, A reputable organization can cause profound damage when, cloaking itself in the mantle of
scientific legitimacy, it disseminates inaccurate, misleading and incomplete information to
the public in furtherance of the undisclosed pecuniary and legal interests of its constituents.

An organization that does so commits a reprehensible breach of trust.

2. The American Academy of Pediatrics (“AAP”), which touts as its motto “Dedicated to the
Health of all Children,” holds itself out as an organization to whom medical professionals,
parents and the public alike may turn for accurate, complete, and unbiased guidance.
According to the AAP’s Constitution, the organization strives “to encourage the development
of high quality pediatric educational programs for students and health professionals at all
levels of education and experience”; “stimulate and conduct public informational and
educational programs designed to improve the health and welfare of infants, children,
adolescents, and young adults”; and “encourage support of basic and applied research into
all aspects of health, health care, and disorders of infants, children, adolescents, and young

adults”. AAP Constitution, Art. 1V, Goals and Purposes.

3. Given these laudable objectives, it is both disappointing and disheartening when, in 1989,
the AAP permitted its Task Force on Circumcision to promulgate a report declaring
circumcision on newborns to be a “safe surgical procedure when performed carefully by
trained, experienced operators using strict aseptic technique”. Published in Pediatrics, the
AAP’s flagship peer-reviewed journal, this conclusion is inconsistent with earlier AAP

pronouncements, which found circumcision to be medically unnecessary.

4. Although the Task Force ostensibly relied upon the “newest” and “most up-to-date” scientific
evidence, its chair was a physician whose outspoken (and non-medical) bias in favor of
circumcision was known to the AAP, but never disclosed, and its report was predicated upon
false, misleading and inaccurate information, some of which derived from methodologically

flawed studies.

5. Plaintiffs Adam, Aiko and Shingo Lavine suffered because of this breach of trust. When
Shingo was born 1997, the Lavines’ obstetrician recommended that Shingo be circumcised
and, in so doing, he invoked the aforementioned AAP Task Force’s 1989 report, In reliance

on this advice, the Lavines elected to circumcise Shingo.

2
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 3 of 35 PagelD: 398

6. Suffice it to say that things did not go smoothly, and certainly not as smoothly as the Lavines
were led to believe it would. Shingo endured a botched circumcision and a second
“corrective” circumcision. In addition, he continues to suffer painful aftereffects, both

physical and psychological, all derived from having been circumcised.

7. Had the Lavines received accurate and complete information from their doctor in 1997 (and
had the doctor received accurate and complete information from the AAP, whose report was
relied upon in recommending circumcision), Adam and Aiko would never have authorized

the surgery.

8. This lawsuit seeks to hold the AAP accountable for its abrogation of its self-imposed

responsibilities.

PARTIES

9. Plaintiff Shingo Lavine (“Shingo”) is a natural person who is a citizen of the State of Rhode

Island.

10, Plaintiffs Adam Lavine (“Adam”) and Aiko Lavine (“Aiko”) are natural persons who, until
April of 2021, resided in and were citizens of the State of California. Thereafter, they moved
to and became residents and citizens of the State of Nevada. Adam and Aiko are the natural

parents of Plaintiff Shingo Lavine.

11, Defendant American Academy of Pediatrics, Inc. (“AAP”) is an Illinois corporation
registered to do business in the State of New Jersey. It is subject to the jurisdiction of this
Court and may be served with process by serving its registered agent, Corporation Service
Company, Princeton South Corporate Center, 100 Charles Ewing Blvd., Suite 160, Ewing,
NJ 08628.

JURISDICTION AND VENUE

12. Defendant removed this action pursuant to 28 USC §1441 from New Jersey Superior Court,
Mercer County, to this Court. The predicate for removal was the existence of diversity

jurisdiction pursuant to 28 USC § 1332(a).
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 4 of 35 PagelD: 399

13. Venue lies in this Court because the action originally commenced by plaintiffs in the New
Jersey Superior Court, Mercer County, was pending in this district and division. See 28

U.S.C. § 1441 (a).

14, Defendant AAP is subject to personal jurisdiction in this Court because it does business in
the State of New Jersey and maintains a registered agent within the state upon whom service

may be (and here, was) effectuated.
FACTS
The American Academy of Pediatrics

15. The AAP isa professional organization of and for physicians specializing in pediatrics. The
AAP is not exclusively organized for charitable or educational purposes; rather, it is a trade
organization organized to protect the economic welfare of its members who practice
medicine in part for a profit. It actively lobbies federal and state legislatures for laws

beneficial to its members.

16. The AAP also claims to lead the field of pediatric medicine in setting standards of practice
and recommendations for practice. Towards that end, it promulgates advisory reports,
recommendations, and guidelines for both the medical profession as well as for the general
public. It expects the profession and the general public to rely on these publications, and the

profession and general public do so rely.
The Evolution of AAP’s “Guidance” on Circumcision

17. One of the issues falling into the AAP’s bailiwick is circumcision, which became entrenched
in the American psyche during the early part of the 20" century, untethered to any religious
tite from which the practice derived. Elective non-therapeutic male circumcision is not
medically necessary', and physicians in most countries leave the foreskin of healthy boys

alone.

 

1 Tp 1980, Springer Publishing Company, a major medical publisher in New York, published a 197-page heavily
sourced book entitled, Circumcision: An American Health Fallacy. The book examined the apparent disconnect
between circumcision’s prevalence in the United States and its concomitant lack of medical justification. The author,
medical writer Edward Wallerstein, concluded with the following observations: "The medical profession bears
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 5 of 35 PagelD: 400

18. In 1971, the AAP explicitly acknowledged that the procedure is not medically necessary. At
that time, the AAP’s Committee on the Fetus and Newborn issued Standards and
Recommendations of Hospital Care of Newborn Infants observed unqualifiedly that, “there

are no valid indications for circumcision in the neonatal period.”

19. Shortly thereafter, in 1975, an Ad Hoc Task Force of that same AAP committee reiterated
this conclusion, opining that, "There is no absolute medical indication for routine
circumcison of the newborn". The Task Force observed that, “[t]he immediate hazards of
circumcision of the newborn include local infection which may progress to septicemia,
significant hemorrhage, and mutilation. Incomplete removal of the prepuce may result in
phimosis. Neonatal circumcision predisposes to meatitis, which may lead to meatal
stenosis.” It concluded that “A program of education leading to continuing good personal

hygiene would offer all the advantages of circumcision without the attendant surgical risk.”

20. The AAP’s view remained unchanged for nearly a decade. In fact, in a 1984 pamphlet
entitled “Care of the Uncircumcised Penis," the AAP went so far as to extol the health
benefits associated with the foreskin: "The Function of the Foreskin: The glans at birth is
delicate and easily irritated by urine and feces. The foreskin shields the glans; with
circumcision, this protection is lost. In such cases, the glans and especially the urinary
opening (meatus) may become irritated or infected, causing ulcers, meatitis (inflammation
of the meatus), and meatal stenosis (a narrowing of the urinary opening). Such problems
virtually never occur in uncircumcised penises. The foreskin protects the glans throughout

life."

21. That same year marked a watershed event — one of several that would alter the AAP*‘s

position on circumcision for years to come. In 1984, Trudie London filed a lawsuit on behalf

 

responsibility for the introduction of prophylactic circumcision without scientific basis in the past and for its
continued use and rationalization without scientific basis in the present. The profession seems to accept
circumcision as a ‘national cultural trait‘ as much as do lay people. With evidence at hand to disprove the
prophylactic benefits of the surgery, the medical profession has the responsibility to discourage this practice. The
pretense of neutrality is a negative stance." In the final paragraph, Mr. Wallerstein noted that “Today circumcision
is a solution in search of a problem. The operation, as prophylaxis, has no place in a rational society. "
(Emphasis added).

2 “Meatal stenosis” is the narrowing or stricture of the urinary opening and may include symptoms such as “urinary
deviation in an upward direction, penile pain at the initiation of urination and a high velocity, narrow urinary
stream.” Palmer, J.S., M.D., Editor, Pediatric Urology: A General Urologist’s Guide (Humana Press), p. 161.
Notably, acquired (as opposed to congenital) meatal stenosis “occurs almost exclusively in circumcised children.”
id.
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 6 of 35 PagelD: 401

of her son, Adam London, in Marin County, California Superior Court, Docket No. 118799,
against Adam’s circumciser, Dr. Mark Glasser, as well as Kaiser Foundation Hospitals and
The Permanente Medical Group. She alleged that the circumcision constituted common law
battery, willful cruelty, unjustifiable infliction of pain, and child abuse, among other torts.
While she acknowledged that she consented to the procedure, Ms. London argued that her

consent was invalid because it related to a medically unnecessary procedure.

22. Although Ms. London’s case was unsuccessful, it received significant publicity, including
an article in Time Magazine. The lawsuit and its associated press coverage alarmed those in
the medical profession who perform lucrative circumcisions as a routine part of their practice,

including Dr. Glasser, the defendant in the London litigation, as as well as others.

93. The rationale for the profession‘s concerns is obvious; the theories advanced in Ms. London’s
lawsuit could, some point, gain a foothold in American jurisprudence. Ultimately, any such
alteration of the legal landscape regarding circumcisions could disrupt this lucrative income
stream for medical practitioners who routinely perform circumcisions and may well expose

them to financially crippling liability?

24. Physicians began to react. In May 1985, pediatrician Thomas Wiswell, MD published an
article in the AAP’s journal, Pediatrics, suggesting that circumcision might reduce the
number of urinary tract infections in boys. Almost immediately, other physicians latched
onto Dr. Wiswell’s conclusions, including urologist Dr. Aaron Fink, who wrote in a letter to
Pediatrics, "1 suspect that similar studies will be repeated elsewhere and, if confirmed,
become an important reference to justify a medical indication for a newborn circumcision.
It presumably might even invalidate litigation based on removal of the natural protection

"afforded by the foreskin as wel! as, by reason of wrongful and malicious acts performed by

medical as well as mohel (ritual) circumcisers." (Emphasis added)

25. The London litigation also alarmed Dr. Edgar J, Schoen, a pediatric endocrinoilgist and AAP

 

member. A ftiend of Dr. Glasser, the defendant in London, Dr. Schoen jumped onto the

 

3 The contemporaneous literature reflects this mounting anxiety among medical practitioners. "See Expanding
Liability Risks in Circumcision." Ob-Gyn News ( November 15-30, 1986)(citing to another case in California in
addition to London in which plaintiff argued that "the procedure violated the boy’s constitutional right to privacy,
safety, and happiness", that the boy lacked the cognitive ability to consent and that that the circumcision constituted
a battery.)
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 7 of 35 PagelD: 402

proverbial bandwagon in defense of the procedure. So strident was his apologetic that it
actually took the form of a glib poem that was published in in the American Journal of
Diseases of Children. Entitled "Ode to the Circumcised Male," (see Exhibit A), the poem
contained several noteworthy passages, including "If you’re the son of a Berkeley professor,
your genital skin will be greater, not lesser”. His poem styled a non-circumcised penis as
“senital chic" and ended with hopeful words of consolation for the circumcised male: “Just

hope that one day, you can say with a smile that your glans ain’t passe [and] it will rise up in

style.”

26. But Dr. Schoen was destined to take his zeal to another level. In or around 1988, he accepted
an appointment by the then-President of the AAP to to chair its Task Force on Circumcision.
The AAP appointed Dr. Schoen to this position despite his outspoken views, including the
aforementioned poem, which suggested that his strident advocacy on behalf of circumcision
transcended notions of medical necessity. Schoen additionally expressed alarm that but for
recent evidence that circumcision potentially decreased the rate of urinary tract infections,
third party insurance payers would stop covering it, and “the anti-circumcision tide” would

prevail.

97. The Task Force issued a “Report of the Task Force on Circumcision (RE9148),” which was
published in the AAP’s journal Pediatrics in August 1989 (“1989 Guidelines”) (see Exhibit
B). The 1989 Guidelines concluded that “newborn circumcision is a rapid and generally safe
procedure when performed by an experienced operator” and made clear on its face that the
AAP intended for doctors to use it as a basis for discussion with parents. But while the
document admittedly warns that “when circumcision is being considered, the benefits and
risks should be explained to the parents and informed consent obtained,” it does not provide
an adequate basis for assessing those risks and benefits. More troubling, it contains any
number of serious flaws, including undisclosed bias, important and misleading omissions,
and outright untruths, as well as relies upon studies that the Task Force itself acknowledged

as methodologically impaired:

e The 1989 Guidelines declares that “[c]ircumcision is a safe surgical procedure if
performed carefully by a trained, experienced operator using strict aseptic

technique.” Yet the AAP knows that many physicians, medical students, and nurses
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 8 of 35 PagelID: 403

who circumcise are neither well-trained nor experienced.* In addition, while
circumcision carries the risk of more than 50 possible complications, the 1989
Guidelines fail to disclose most of them. In fact, they do not even mention the

possibility of catastrophic and even fatal injuries.

e As to those risks the AAP did disclose, the 1989 Guidelines drastically understated
them. For example: (a) The 1989 Guidelines claimed a complication rate of 0.2-
0.6%, facially dubious data given that elsewhere, the Guidelines note that “|t]he
exact incidence of post operative complications is unknown”; (b) The 1989
Guidelines fail to disclose that some studies (none of which are mentioned) fix the
risk of complications from circumcisions as high as 13%; (c) The 1989 Guidelines
misrepresent the rate of severe complications, which is as high as 2-4%, and they
make no mention whatsoever of complications that occur later in childhood or
during adulthood, including painful erections, scrotal webbing, hypersensitivity of
the glans, and unsatisfactory cosmetic appearance; and (d) with respect to the most
common complication following circumcision, meatal stenosis (a narrowing of the
urethral opening), the 1989 Guidelines falsely state that “[t|here is no evidence that
meatitis leads to stenosis of the urethral meatus.” In fact, meatal stenosis occurs in

5% to 20% of boys following circumcision.

¢ Upon information and belief, one or more members of the committee that wrote the
1989 Guidelines, including Dr. Schoen, were Jewish, and in Judaism, circumcision
is a sacred religious rite practiced for thousands of years. Thus, he had an

undisclosed religious bias in favor of protecting circumcision.

 

In a glimmer of candor published some 23 years later, the AAP’s Task Force on Circumcision acknowledged in
2012 that while the obstetricians, family physicians, and pediatricians “are the principal clinicians who perform
newborn circumcisions in medical settings[,] there is no single system of training or credentialing for circumcision
in use nationwide . . .[and tJhere is good and fair evidence of considerable variation in provider type by repion and
by hospital with midwives performing circumcision in some locations.” AAP Task Force on Circumcision, “Male
Circumcision”, Pediatrics, Vol 130, Issue 3 (September 2012). After noting that “[t}raining curricula for teaching
newborn circumcision in departments of pediatrics and family medicine have been described,” the Task Force
acknowledged that they provide no “information on how widely used they are or the trainings’ results and/or
effectiveness.” Jd. The Task Force then “strongly recommends” the development of educational materials for
clinicians to enhance practitioners’ competency in discussing the benefits and risks of circumcision with parents”
and further “recommends that the key professional organizations (including the AAP) develop a consensus plan for
teach[ing] the procedure and analgesic techniques during postgraduate training programs . . . and developling]
standards of trainee proficiency.” fd.
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 9 of 35 PagelD: 404

e The 1989 Guidelines fail to disclose that Dr. Schoen was an outspoken proponent
of circumcision, having penned his infamous “Ode to the Circumcised Male”, and

that, consequently, he was neither neutral nor objective.

e The 1989 Guidelines fail to disclose that, on information and belief, most (if not
all) of the task force members performed circumcisions regularly and therefore

stood to benefit financially from a continued stream of circumcision patients.

e The 1989 Guidelines state that most male infants born in this country are
circumcised as newborns, implying that it is a routine part of the practice of
medicine worldwide. They fail to disclose that non-therapeutic circumcision by
physicians is uncommon outside the United States; that other English-speaking
countries largely abandoned the practice; and that physicians outside the United
States do not solicit parental permission to surgically remove the foreskin or other

healthy parts of their child’s body.

e The 1989 AAP Guidelines fail to disclose that circumcision has been controversial
for many years, and they also fail to disclose the notable opposition to the practice

on medical, ethical, and legal grounds inside and outside the United States.

e The 1989 AAP Guidelines mislead by failing to disclose that non-therapeutic
circumcision is inconsistent with numerous provisions of the American Medical
Association’s Code of Medical Ethics including Article 5.5 (Medically Ineffective
Interventions: “Physicians should only recommend and provide interventions that
are medically appropriate—i.e., scientifically grounded—and that reflect the
physician’s considered medical judgment about the risks and likely benefits of
available options in light of the patient’s goals for care), and the general rules of
medical ethics: autonomy; non-maleficence (“First, Do No Harm”); beneficence

(“do good”); proportionality; and justice.

e The 1989 AAP Guidelines understated the pain endured by infants who undergo
circumcision, While acknowledging that “[i]nfants undergoing circumcision
without anesthesia demonstrate physiologic responses suggesting that they are

experiencing pain,” they fail to acknowledge that circumcision is one of the most
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 10 of 35 PagelD: 405

painful procedures in neonatal medicine; that the pain often continues for many
days after the circumcision; and that physicians often circumcise boys without

providing any pain relief.

© The 1989 Guidelines bolster the AAP’s endorsement of circumcision by suggesting
that the procedure may confer medical benefits even where the studies relied upon
were faulty. Urinary tract infections (“UTIs”) provide a notable example. As to
UTIs, the AAP notes that “[p]reliminary data suggest the incidence of urinary tract
infection in male infants may be reduced when [circumcision] is performed during
the newborn period.” But while invoking this “[p]reliminary data” to support the
AAP’s position, the 1989 Guidelines acknowledged that the studies “may have

methodological flaws”.

e The 1989 Guidelines spend significant time discussing penile cancer, noting that
its incidence in the United States has been estimated to be “.7 to .9 per 100,000
men”; that the mortality rate for such cancer “is as high as 25%”; and that “the
condition occurs almost exclusively in uncircumcised men.” It concludes by
identifying “lack of circumcision” as “correlative” to the incidence of penile cancer.
The 1989 Guidelines thus invoke the frightening specter of cancer to commend the
procedure. In doing so, however, the AAP ignores its own 1975 Policy Statement,
which concluded that “optimal hygiene confers as much or nearly as much
protection against penile cancer as circumcision,” and that a “great deal of
unnecessary surgery, with attendant complications would have to be done if

circumcision were to be used as prophylaxis against [penile cancer|.”

e The 1989 Guidelines failed to disclose the documented incidences of psychological

harm and trauma experienced among adult males circumcised at birth.

e The 1989 Guidelines fail to disclose (much less address) the regret and guilt

experienced by many parents after consenting to circumcision of their male child.

e The 1989 Guidelines fail to describe the benefits of the foreskin irreversibly

removed by circumcision, including that it is highly erogenous and that its inner

10
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 11 of 35 PagelD: 406

lining is a moist and mobile mucous membrane, which reduces friction during

masturbation and sexual intercourse.’

98. To summarize: In 1971 (and again in 1975), the AAP correctly stated that there is no
medical indication to circumcise a newborn boy. Yet when faced with concerns about its
membership’s financial prosperity and potential legal exposure, the AAP inexplicably
reversed course, concluding that circumcision is a “generally safe procedure when
performed by an experienced operator” and attempted to justify its new position by,
among other things, instilling fear about UTIs and penile cancer based upon

methodologically questionable and inaccurate data.

29, And while it is certainly true in the abstract that scientific views may evolve and change
over time, the 1989 Guidelines reflected a fundamentally changed viewpoint without
providing a complete, fully accurate, unbiased and balanced scientific rationale for the
change — one that would allow parents to knowledgably balance the “risks and benefits”

of circumcision.

30. Instead, the AAP issued its 1989 Guidelines to provide medical and scientific cover for
its constituents and simultaneously to maximize the chances that those constituents
receive an uninterrupted stream of revenue from preforming a medically unnecessary,

painful, and potentially harmful procedure.

31. The AAP’s 1989 Guidelines were the ones in effect in 1997, when plaintiffs Adam and

Aiko Lavine welcomed their son, plaintiff Shingo Lavine, into the world.

The Birth of Shingo Levine and the Misguided “Medical” Decision to Have him
Circumcised

32. Shingo Lavine was born to Adam and Aiko Lavine in December 1997, at Princeton

Medical Center (“Princeton”) in Plainsboro, Mercer County, New Jersey.

 

5 To slant further (and improperly) the parental decision-making process regarding circumcision’s “risks and
benefits”, the AAP even saw fit to remove from its 1984 parental guidance pamphlet, referenced at paragraph 20,
supra, its informational description of the foreskin’s attributes and functions. The updated 1994 version deleted that
section entirely. (Compare Exhibit C (1984 version) with Exhibit D (1994 version)).

Hl
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 12 of 35 PagelD: 407

33. On or about December 18, 1997, Dr. Jeffrey L. Chait, the obstetrician who delivered him,
circumcised the newborn. Princeton thereafter billed Shingo’s parents or their insurer (or

both) for the circumcision and received financial compensation for it.

34. Shingo’s mother, Aiko, was born in Japan. Japan is not a circumcising society, and until
she came to the United States and eventually married Adam, she had never heard of it.
After Shingo’s birth and before the circumcision, Aiko was incapacitated and, due to a
difficult 36-hour labor and a Caesarean section, on medication, Just prior to the
circumcision, the hospital administered morphine and Percocet®, as well as other
medications.

35. Notwithstanding the lack of exigency, Dr. Chait did not wait to ask Aiko for her permission

to have her son circumcised, and consequently, she did not give permission for the surgery.

36. Instead, almost immediately after the birth, Dr. Chait solicited Adam’s verbal consent to
have Shingo circumcised. Dr. Chait informed him that the AAP had issued guidelines about
circumcision showing that circumcision reduces the incidence of urinary tract infections
and penile cancer, among other maladies. In conformity with the 1989 Guidelines, Dr.
Chait portrayed circumcision as a minor, safe, harmless, and medically beneficial
procedure, as well as a routine and normal part of childbirth. He also portrayed parental

permission as expected and as a formality.

37. In reliance upon the representations made—representations that Adam had no reason to

doubt—Adam agreed to have Shingo circumcised.

38. Adam and Aiko were never made aware that circumcision was a highly controversial topic
or, for that matter, that circumcision was anything other than medically beneficial. They
were never made aware that circumcision is painful; that there are any number of potential
complications; that some men who were circumcised at birth resent it having been
performed without their consent; that it can lead to psychological problems; or that the
foreskin serves several physiological functions that would be destroyed upon its

amputation.

39. After the circumcision, Dr. Chait seemed distinctly less confident than he had been prior

to the operation. He expressed concern to Shingo’s parents about the circumcision. He told

12
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 13 of 35 PagelD: 408

them that they would “have to keep an eye on it” and let him (Dr. Chait) know if there were
any problems with Shingo’s penis. Given the pre-procedure picture painted by Dr. Chait
and based explicitly upon defendant the AAP’s then-current guidelines, Adam and Aiko
were both surprised and dismayed, but they followed their doctor’s advice and remained
vigilant. After about one month, Adam and Aiko observed that Shingo’s penis had not

healed and looked abnormal to them.

40. From late December, 1997 until mid-January 1998, Adam and Aiko took Shingo for a
series of visits to Dr. David Sharlin of Delaware Valley Pediatrics, with concerns about
Shingo’s penis, among other issues. He recommended a follow-up with Dr. Joseph Barone,
Chief of the Section of Pediatric Urology at Robert Wood Johnson University Hospital,

New Brunswick, New Jersey.

Al. On January 21, 1998, Adam and Aiko brought Shingo to Dr. Barone for examination. Dr.
Barone observed blood and scarring on Shingo Lavine’s penis. He cleaned the member and
then diagnosed Shingo as suffering from phimosis and a buried penis. He recommended
what he called a “second circumcision.” Dr. Barone presented the “second circumcision”
as if it too was routine. Thereafter, Dr. Barone performed a second circumcision surgery
on Shingo. He wrote a letter that day stating that, “Shingo should do very well with the

circumcision.”
42. In fact, after Dr. Barone’s surgery, Shingo did not “do very well” at all.
The Lavines‘ Path to Discovering the AAP’s Fraud

43. In the ensuring years, Shingo would undergo his routine annual physicals, which, until
recently, were performed by Shingo’s pediatricians and, upon turning 18, by Shingo’s
internist. During those regular examinations, the doctor would take measurements such
as weight, height, blood pressure and raise issues of concern. Despite performing gential
examinations as part of those examinations, they never once raised any problems with (or

irregularities presenting on) his penis.

44, When Shingo reached adolescence, he began to experience urologial issues. These
included increased pubic hair growth bearing skin down to the circumcision scar line, whch

created irritation, as well as glans hypersensitivity that was sufficiently disruptive that it

13
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 14 of 35 PagelD: 409

often woke him in the middle of the night. When he became sexually active, he noticed
that his erection caused him great discomfort. But due to circumcision’s prevalence in the
United States, Shingo had no reason to suspect that his issues related to the procedure

performed upon him as an infant.

45. Shingo, an inquisitive young man raised in the so-called “information age”, decided to
research his symptoms on his own to determine their cause as well as the existence of a
potential treatment. Shingo’s research lead him to accounts of other men experiencing the
same issues as he. As he performed further research, Shingo became increasingly
concerned that circumscion might be the cause of his problems and that the cause was

likely irreversable.

46. On or about June 15, 2020, Shingo became involved with Foregen, a medical organization
devoted to regenerating foreskin, specifically the specialized structures including nerve

endings that are removed or destroyed during circumcision.

47, On or about June 15, 2020, although circumcision is irreversible surgery, Shingo began the
attempted partial restoration of his foreskin, a highly intensive daily routine to attempt to
recover the denuded glans by stretching the loose skin of the penile shaft. Upon information
and belief, more than 60,000 men in the United States currently practice foreskin
restoration. It requires the patient to attach weights to the penis for an uncomfortable 3-4
hours per day, for 5-10 years. Shingo has spent more than 700 hours over the course of

almost 1,000 sessions as part of the process to partially “restore” his foreskin.

48. On July 29, 2020, Shingo began psychotherapy to cope with the severe emotional distress

stemming from his circumcision, but to date, it has not diminished his distress.

49, Shingo discussed his situation with Adam, who reached out in August 2020 to Dr, Gabriella
Avellino, a top urologist at Brown University. Shingo made an appointment with Dr.
Avellino, but the doctor dismissed his concerns. In fact, she went so far as to extol the
purported benefits of circumcision using studies that were deeply flawed from a

methodological and academic standpoint.

50. In September of 2020, Shingo was introduced to University of Massacheusetts Professor

Peter Adler, a legal scholar who has focused much of his academic energy on circumcision

14
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 15 of 35 PagelD: 410

and its legal ramifications. Based upon his research, Professor Adler enlighted the Lavines

about several things:

e He informed them that physicians in most countries outside the United States do
not recommend or perform unnecessary circumcisions, and that its pervasiveness
in the United States may have legal consequences for those who promote it asa

routine medical procedure.

e He informed them that physicians typically broach the subject of circumcision with
the new parents almost immediately after the birth, and often while the mother is
still under the influence of pain medication, affording the parents only minutes to

decide.

e He informed them that circumcision is routinely portrayed to these parents as a
normal, simple, safe, and harmless medical procedure — one that confers any
number of medical benefits, including the reduction in the risk of UTIs and penile
cancer — without explaining that it is a painful surgery that carries with it the real
risk of complications. Parental permission is therefore not fully informed and

consequently, is legally invalid.

° He brought to the Lavine’s attention the 1989 Guidelines, which Adam
remembered as being as among the bases invoked by by Dr. Chait when the latter
recommended Shingo’s circumcison and downplayed the serious nature of the
surgery. Professor Adler then explained the flaws in those guidelines and, more
troubling, how the AAP was well aware of those flaws at the time of their

publication in 1989.

51. The Lavines were shocked at what they had learned; they realized that what Professor Adler
described is exactly what had actually happened to them when Shingo was born, as detailed
in this Complaint. Their distress over being defrauded was only compounded by their
profound disillusionment with the AAP for (mis)using its reputation to enrich and protect

its constitutent members.

52. Adam and Aiko are angry that they were never fully informed about the risks and

downsides of circumcision. Had they not been so fundamentally misled, they would never

15
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 16 of 35 PagelD: 411

have consented to the procedure that has created for them a difficult and strained

relationship with their son — one marked by guilt, anger and resentment.

COUNT I
(Intentional Fraud)

The American Academy of Pediatrics

53. Plaintiffs repeat and re-allege the prior facts and allegations contained in Paragraphs 1

through 52 as if set forth at length herein.

54. By its words and conduct, the AAP invites other medical associations such as the American
College of Obstetricians and Gynecologists, obstericians and gynecologists, pediatricians,
other physicians, and the general public to rely upon the AAP’s reports, recommendations

and guidelines.

$5. Having undertaken the role of educating the public and providing guidance, the AAP owes
that public a duty to to disclose (and not shield from disclosure to) all relevant facts and
considerations when issuing reports, recommendations, and guidelines on the subjects
(including circumcision) upon which they opine. Stated differently, the AAP owes a duty
to the general public, including the plaintiffs herein, to tell the truth, the whole truth, and
nothing but the truth when issuing reports, policy statements, and guidelines for medical

care and procedures.

56. The AAP expected parents to consider and rely upon the information contained in the 1989
Guidelines in deciding whether to circumcise their child, and, as it pertains to the plaintiffs,
Dr. Chait referred specifically to the 1989 Guidelines in portraying circumcision as safe,

routine and medically advantageous.

57. As set forth at length above, the 1989 Guidelines contain materially misleading, inaccurate,
and incomplete information about the risks of circumcision and its oftentimes deleterious

physiological and psychological ramifications.

58. The AAP’s decision to publish the 1989 Guidelines, which fundamentally changed the

organization’s stated views on circumcision, was calculated to deceive those relying upon

16
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 17 of 35 PagelD: 412

it and calculated to provide “scientific cover” for its constituent members who wished to

continue the lucrative practice of circumcision and mitigate claims of legal liability.

59. To the extent that the members of the 1989 AAP Task Force on Circumcision did not have
knowledge of the falsity of the claims enumerated above, the AAP acted recklessly in

disregard of the truth or falsity of said claims.

60, Adam Lavine, who knew nothing about medicine or medical aspects of circumcision—and
who was representing his newborn son and his incapacitated wife at the time—trelied upon
Dr. Chait’s reference to those AAP guidelines in support of circumcision when he

consented to the circumcision.

61. The AAP thereby defrauded Adam Lavine, acting on behalf of his son Shingo Lavine and
his wife Aiko Lavine, and therefore defrauded all three Plaintiffs.

62. By reason of the foregoing, plaintiffs are entitled to judgment in an amount to be

determined at trial.

COUNT II
(Constructive or Equitable Fraud)
The American Academy of Pediatrics
63. Plaintiffs repeat and re-allege the facts and allegations in Paragraphs 1-62 as if set forth at
length herein.

64, The AAP is a medical organization, comprised of physicians licensed to practice medicine,
that issues guidelines for physicians to follow in the practice of medicine and here, the

practice of circumcision.

65. The AAP promulgates these guidelines with the intent and expectation that they will be
relied upon and shared with parents in assisting them to weigh knowledgeably weigh the

pros and cons of certain medical decisions regarding their children, including circumcision.

66. The 1989 Policy Statement was prepared by an ad hoc committee of the AAP, published

in its ostensibly peer-reviewed journal, Pediatrics.

17
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 18 of 35 PagelD: 413

67. The AAP specifically intended for the the information contained in the 1989 Policy
Statement to be used by doctors in speaking to parents about circumcision and parents in

making the decision whether or not to circumcise their newborn.

68. The AAP owes a duty to patients and their legal representatives who learn about, are
informed about, and who rely upon the AAP’s circumcision guidelines, here Adam

Lavine’s reliance on the AAP’s 1989 Policy Statement.

69. The AAP has abused its self-professed position as a respected source of medical knowledge
and unbiased information to which the public can turn. It convened a Task Force on
Circumcision that promulgated guidelines in 1989 not for the purpose of advancing the
health of boys and men, but to enable its Task Force Chair’s zealous and personal
predilection for circumcision as well as its own undisclosed objective to shield the medical

profession from circumcision-related litigation.

70. When the AAP violated the trust reposed in it by a physician (here Dr. Chait), a patient
(here Shingo Lavine as his parents acted on his behalf), and/or those representing him (here
Adam and Aiko Lavine), a cause of action lies for constructive or equitable fraud, even if

a specific intent to defraud is absent.

71. The AAP’s wrongful and unfair acts enumerated herein constitute constructive or equitable

fraud.

72. By reason of the foregoing, plaintiffs have suffered damages in an amount to be determined

at trial.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs Shingo Lavine, Adam Lavine, and Aiko Lavine demand
judgement against defendant American Academy of Pediatrics, Inc. and they seek the following

relief:

18
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 19 of 35 PagelD: 414

(a) Compensation for Shingo Lavine for the pain caused by each of the two circumcisions; the
pain caused by his injuries; for the emotional distress, suffering, stress, pain, and mental anguish
caused by the circumcisions.

(b) Compensation for the pain and pain and suffering and emotional distress associated with
attempting partial foreskin restoration to try to mitigate the damage caused by the circumcisions;
and compensation for the time spent and that will be spent on foreskin restoration.

(c) Compensation for the mental anguish suffered by Adam and Aiko Lavine because of the
two circumcisions.

(d) Attorneys’ fees, pre- and post-judgment interest and costs of this lawsuit;

(e) Punitive damages; and

(f) Such other relief as the court may deem just and equitable under the circumstances.

DEMAND FOR TRIAL BY JURY

Plaintiffs hereby demand a trial by jury on all issues so triable.

he a

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Morristown, NJ 07960

973-606-6090

Andrewdelaney2!1@gmail.com

095232013

Attorney for Plaintiffs Shingo, Aiko and Adam Lavine

Dated: November 29, 2021

Of Counsel:

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LUPKIN PLLC

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(Tel): 646-367-2771

(Fax): 646-219-4870

Email: jlupkin@lupkinpllc.com

19
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 20 of 35 PagelD: 415

CERTIFICATION

The undersigned hereby certifies that the matter in controversy between. the parties herein
is not the subject of any other action pending in any Court or any arbitration proceeding, and that

no other action or arbitration proceeding with respect to the matter in controversy is contemplated.

The undersigned further certifies that the names of any non-parties who should be joined
in the action pursuant to Rule 4:28, or who are subject to joinder pursuant to Rule 4:29-1(b)
because of potential liability to any party on the basis of the facts set forth in the within complaint

are: None.

I certify that confidential personal identifiers have been redacted from documents now
submitted to the court and will be redacted from all documents submitted in the future in

accordance with R. 1:38-7(b).

Leo a
Dated: November 29, 2021 BY: a
ANDREW DELANEY, ESQ.

 

20
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 21 of 35 PagelD: 416

LIST OF ATTACHED EXHIBITS
EXHIBIT A

“Ode to the Circumcised Male,” Poem by Edgar Schoen, M.D., chair of the 1989 Task Force of
the AAP on Circumcision

EXHIBIT B

“Report of the Task Force on Circumcision, RE9148” Pediatrics, 989;84(4):388-91 (August,
1989)

EXHIBIT C
“Care of the Uncircumcised Penis,” AAP Pamphlet, 1984
EXHIBIT D

“Newborns: Care of the Uncircumcised Penis,” AAP Pamphlet, 1994

21
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 22 of 35 PagelD: 417

EXHIBIT A
 

 

 

 

mother-child resemblances as adult-
hood approaches, again without appar-
ent influence of the sex of the child.‘
SranLey M, Gann, PHD
Timoruy V. SULLIVAN
The Center for Human Growth
and Development
The University of Michigan
800 North Ingalls Bldg
Ann Arbor, MT 48109

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‘Ode to the Clrcumelsed Male’

Sir —Before the mid-1970s, the Amer-
ican standard of care included neonatal
elyeumcision, a minor surgical proce-
dure that ‘promoted genital hygiene
and prevented later penile cancer as
well as cervical cancer in female sexual
partners. More recently, evidence has
suggested that adequate hygiene is all
that is needed and that clreumeiston is
an unnecessary and traumatic proce-
dure. In 1983, the American Academy
of Padistrics and the American College
of Obstetrics and Gynecology jointly
agreed that routine cireumeision is not
necessary, and third-party payers are

increasingly refusing to pay for the.

procedure, Whether recent evidence
of a decreased incidence of urinary
tract infections in circumcised male
infants’ can stem the anticireumcision
tide is questionable.

The purpose of this communication
is to offer some solace to the genera-
tions of ofreumcised males who are now
being told that they havé undergone an
unnecessary and deforming proce-
dure, which may alao have been brutal
and psychologically traumatic. To
them I offer these lines:

Ode to the Circumeised Male

We have a new topie to heat up our pas-
siong——the foreskin is currently top of
the fashions. ;

If you're the new son of a Berkeley profes-
aor, your genital sldn will be greater, not
lesser.

For if you've been cire'ed or are Moslem or
Jewish, you're outside the mode; you are
old-ish not new-lsh,

128 © AJDO—Vol 141, Feb 1987

You have brolten the latest soclety rules;
you may never get into the finest of
achodls.

Noneircumeiaed males are the “genital
chie’—if your foraskin is gone, you are
now up the creek.

It's a great work of art like the statue of
Venus, if you're wearing a hat on the head
of your penis,

When you gaze through a looling glass,
don’t think of Alice; don't rue that you
suffered a rape of your phallus,

Just hope that one day you can say with a

amile that your glans ain't passé; it will,

rise wp in atyle,
Evaar J. Scuorn, MD
Department of Pediatrics
Kaiser Permanente
Medical Center
280 W MacArthur Blvd
Oaldand, CA 94611
1, Ameriean Acadamy of Pedintrica and Amer-
tean College of Obstetrica and Gynecology:
Guidelines for Perinatal Care, Evanston, IH,

AAP/ACOG, 1988.
2. Wiawell TE, Smith FR, Bass JW: De-

craaged incidence of arinary tract Infections in -

cireumelued mate Infanta. Pediatrica 1986;76:
$01-803,

Gastric Acid Aspiration Posslble
Durlng Flexible Endoscopy
Without General Anesthesla

Sin—I wish to comment on Dr Ben-
dig’s' recent article, “Removal of Blunt
Esophageal Foreign Bodies by Flex-
ible Endoscopy Without General
Anesthesia.”

I suggest that Dr Bendig has been
fortunate in avoiding pulmonary aspi-
ration of gastrie contents in his pa-
tients, a life-threatening complication.
Animal atudies have suggested a eriti-
cal gastric volume of 0.4 mL/kg and a
pH of 2.5 or less aa predisposing to

serious pulmonary aspiration.” Pedi-’

atyic patients are even more likely than
adults to exceed this critical volume
and pH." Coté et al’ found 50 of 61
pediatric patients to have gastric pH
less than 2.5 immediately after in-
duction of general anesthesia. Of these
BL children, 76% had gastric pi less
than 2,6 and gastric volume greater
than 0.4 mL/kg, placing them at risk
for acid aspiration syndrome.

T suspect that many of Dr Bendig's
patients were also at risk for acid aspi-
yation both intraoperatively and post-
operatively, despite the six-hour noth-
ing-by-mouth period. Dr Bendig used
chlorpromazine hydrochloride, me-
peridine hydrochloride, and diazepam
io sedate his patients, a combination
similar to “lytie cocktail,” except for
the substitution of diazepam for pro-

Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 23 of 35 PagelD: 418

methazine. In addition, t
ynx waa topically anesth
lidocaine or benzocaine.
ability to perform esophi
otherwise uncooperativ
speake for their inability t
airways—the cough and ,
were abolished. When a pa
protect and control his
airway, it is the responsi
physician to control it toy
gerous aspiration. Dr Bet
that “there were no com)
sedation or of the endoseo}
Was aspiration looked for
tively? Did all children |
postoperative chest roent
Did no child have a tamper
tion postoperatively?
General anesthesia wi
cheal intubation provides
trol and considerable prot
pulmonary aspiration of ;
tents. Recovery from an
anesthetic is aleo much
from the above-mentionec
suggest that the risks fr
anesthesia in this situati
than that of gastric acid a:
Despite Dr Bendig’s ¢
trained pediatric auppor
and equipment be availabh
if alrway obstruction or ,
tent regurgitation were tc
would not arrive in time.
more prudent to have an
volved at the start. [ also‘
one takes Dr Bendig's su
couragement to perform
dure without appropriate :
sonnel and equipment.
MicHase J. KIBEI.
Department of An:
Geisinger Medical
Danville, PA 1782:

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in pediatric patients, Aresthe
216-219,

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Assessment of risk factors relat:
tton ayndrame In padlatric pati:
and restdual volume, Anesiir
70-12,

In Reply.--Dr Kibelbek

with the potential risk o!
gastric contents utilizi:

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Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 24 of 35 PagelD: 419

EXHIBIT B
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Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21

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4

Task Force on Circumcision

 

Page 25 of 35 PagelD: 420

Lo Report of the Task Force on Circumcision: (ReE9148)

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Soe ed
t

The 1971 edition of Standards and Recommen-._,
" yatracted in 80% to 90% of uncircumcised boys.®

dations of Hospital Care of Newborn Infants by the
Committee on the Fetus and Newborn of the Amer-
ican Academy of Pediatrics (AAP) stated that
“there are no valid medical indications for cireum-
cision in the neonatal period," In 1975, an Ad

Hoc Task Force of the same committee reviewed’
this statement and concluded that “there igs no-

absolute medical indication for routine clreumci-
sion of the newborn.” The 1975 recommenda-
tion was reiterated in 1983. by both the AAP and
the American College of Obstetrics and Gynecology
in the jointly published Guidelines io Perinatal
Care.’ ‘ .

Large-scale studies of US hospitals indicate that
most male infants born in this country are clroum-
cised- in the- newborn period,’ although the circum-
cision rate recently appears to be decreasing.® Since
the 1975 raport, new evidence has suggested. poasi-

ble medical benefits from newborn circumcision.

Prelimmary data suggest ‘the incidence of urinary
tract infection in male infants may be reduced when
this procedure is performed during the newborn
period, There is also additional published infor-
mation concerning the relationship of circumcision
to. sexually transmitted diseases and, in. turn, the
relationship of viral sexually transmitted diseases
to cancer of the penis.and cervix,

‘DEFINITIONS, PENILE HYGIENE, AND LOCAL

INFECTIONS

The penis consists of a cylindrical shaft with a
rounded tip (the glans). The shaft and glans are
separated by a groove called the-coronal sulcus. The
foreskin, or prepuce, is the fold of skin covering the
glans. At birth, the prepuce is still developing his-
tologically, and its separation from the glans is
usually incomplete. Only about 4% of boys have a
retractable foreskin at birtl, 15% at 6 months, and

 

The recommendations in this statement do net indicate an
exclusive tourse of treatment or procedure to be followed. Vati-
ations, tuking Into account individual circumsiances, may be

appropriate,

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American Acodemy of Pediatrics,

388 PEDIATRICS Vol. 84 No, 4 August 1989

50% at 1 year; by 3 years, the foreskin can be

Phimosis is stenosis of the preputial ring with
resultant inability to retract a fully differentiated
foreskin. Paraphimosis is retention of the preputial
ring proximal to the coronal sulcus, creating a ten-
sion greater than lymphatic pressure resulting in
subsequent edema of the prepuce and glans distal
to the ring, Balanitis is inflammation of the glans,
and posthitis is inflammation of the prepuce; these
conditions usually occur together (balanoposthitis).
Meatitis is inflammation of the external urethral
meatus,

Newborn circumcision consists of removal of the
foreskin to near the coronal sulcus performed in
early infancy (before age 2 months}. ‘The procedure
prevents phimosis, paraphimosis, and balanopos-
thitis, Meatitis is more common in circumcised
boys. There is no evidence that meatitis leads to
stenosis of the urethral meatus.

Tt is particularly important that uncircumcised

" boys be taught careful penile cleansing. As the: boy

grows, cleansing of the distal portion of the penis
is facilitated by gently, never forcibly, retracting
the foreskin only to the point where resistance is
met, Full retraction may not be achieved until age

3 years or older.
A small percentage of boys who are not. circum-

cised as newborns will later require the procedure.

for treatment of phimosis, paraphimosis, or balan-
oposthitis, When performed after the newborn
period, circumcision may be a more complicated
procedure." ©

CANCER OF THE PENIS

The overall annual incidence of cancer of the
penis in US men has been estimated to be 0,7 to
0.9 per 100000 men and the mortality rate is as
high as 25%,.""" ‘This condition occurs almost ex-

‘ ¢lusively in uncircumcised men.'*“ In five major

reported series since 1992, not one man had been
circumcised neonatally,"*"" The predicted life-
time. risk of cancer of the penis developing in an
uncircumcised man hag been estimated at J in 600
meén in the United States** in Denmark, the esti-
mate ig tin 909 men.” In developed countries where
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 26 of 35 PagelD: 421

~ 624 -

neonatal circumcision is not routinely performed,
the incidence of penile cancer is-reported to range
from 0.3 to 1.1 per 100 000 men per year? This low
incidence is about half that found in uncircumcised’
US men, but greater than that in circumcised US
men,

Factors other than circumcision are important in
the etiology of penile cancer. The incidence. of pen-
fle cancer is related to hygiene. In developing na-
tiong with low standards of hygiene, the incidence.
of cancer of the-peris in uneireumcised men is 3 to
6 per 100 000. men per year.” The decision not to
circumcise a male infant must be accompanied by
a. lifetime commitment to genital hygiene to mini-
mize the risk of penile cancer developing. Recently,
human papillomavirus typea 16 and 18 DNA se-
quences have been found in 31 of 63 cases of penile
cancer, suggesting the importance of these viruses’

in the development of this’ condition.” Poor hy-

giene, lack of circumcision, and certain sexually

transmitted diseases all correlate with the incidence -

of penile carcinoma,

URINARY TRACT INFECTIONS

A 1982 series of infants with urinary tract infec-
tions noted that: males preponderated, contrary to
female preponderance later in life, and that.95% of
the infected boya were uncircumcised.”* Beginning

in 1985, studies conducted at US Army hospitals

involving more than 200 000 men ahowed o greater
than tenfold increase.in urinary tract infections nr
uncircumcised compared with circumcised male in-
fants; moreover, as‘the rate of circumcision declined
throughout the years, the incidence of urinary tract
infection increased.®"° In another army hospital
study, infants were examined in the first month of
life and itavas concluded that the high incidence of
urinary tract infection in uncircumcised boys was
accompanied by.a similarly increased incidence of
other significant infection, including bacteremia
and meningitis”; however, the authors of that study
did not distinguish between bacteriuria secondary
to septicemia and primary urinary tract infection,
Still another recent army: hospital study lends sup-

port to a 1986 hypotliesis that circumcision pre-

vents preputial bacterial colonization and thus pro-
tects male infants against urinary tract infec-
tion? It should be noted that these studies in
army hospitals are retrospective in design and may
have methodologic Maws. For example, they de not
include all boys born in any single cohort or those
treated ag outpatients, so the study population may
have been Influenced by selection bias.

SEXUALLY TRANSMITTED DISEASES

Evidence regarding the rélationship of circumci-
sion to sexually transmitted diseases is conflicting.

Early series indicated a higher risk of gonococcal
and nonspecific urethritis in uncircumeised
men,”>"? whereas one recent study shows no differ-
ence.in the incidence of gonorrhea and.o higher
incidence of nonspecific urethritis in circumcised
men! Although published reports suggest that
chaneroid, syphilis, human papillomavirus, and
herpes simplex virus type 2 infection are more
frequent in uncircumcised men, methodologic prob-
lems render these reports inconclusive,"

CERVICAL CARCINOMA

There appears to be a strong correlation between

- squamous cell carcinoma of the cervix and sexually

trangmitted diseases, Human papillomavirus types

16 and 18 are the viruses most commonly associated

with eancer of the cervix": Herpes simplex virus
type 2 has also been linked with cervical cancer2o?
Although human papillomavirus types 16 and 18
are also associated with cancer of the penis,
evidence linking uncircumcised men to cervical car-
cinoma is inconclusive. The strongest predisposing
factors in cetvical cancer are a history of Inter-
course al an early age and multiple sexual partners.
The disease is virtually unknown in nuns and vir-

. gina,

PAIN AND BEHAVIORAL CHANGES

Infants undergoing circumcision without anes-
thesia demonstrate physiologic responses suggest-
ing that they are experiencing pain.” Thi observed
responses include behavioral, cardiovascular, and
hormonel changes. Pain pathways as well as the
cortical and subcortical centers necessary for pain
perception are well developed by the third trimes-
ter, Responses to painful stimli have been docu-

. mented in neonates of all viable gestational ages.

Behavioral changes include a cry pattern indicating
distress during the circumcision procedure and

‘changes in activity (irritability, varying sleep pat-

terns) and in. infant-maternal interaction for the
first few hours after circumcision." These behav-
ioral changes are transient and disappear within 24
hours after surgery.”

SURGICAL TECHNIQUES AND LOCAL
ANESTHESIA

Circumcision is a safe surgical procedure if per-
formed carefully by a trained, experienced operator
using strict aseptic technique. The procedure
should be performed only on a healthy, atable in-
fant, Clamp techniques (eg, Gomeo or Mogen
clamps) or a Plastibell give equally good results."
‘Techniques that may reduce postoperative compli-
cations inelude (1) using a surgical marking pen to
mark the location of the coronal sulcus on the shaft

AMERICAN ACADEMY OF PEDIATRICS 389
 

Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 27 of 35 PagelD: 422

- 625 -

skin preoperatively; (2) identifying the urethral
meatus; (3) bluntly.freeing the foreskin fronr the

. glans with a flexible probe; (4) completely retract-

ing-the foreskin; and (5) identifying the coronal
sulcus, all before applying the clamp or Plastibell
and before excising any foreskin.” Blectrocautery
should not be used in conjunction with metal
clamps, At the initial health supervision vistt -fol-
lowing hospital discharge, the penis-should be care-
fully exarnined and the parents given instructions
concerning on-going care,

Dorsal penile nerve block using no more than 1%

Hdocaine (without epinephrine) in appropriate

doses (3 to 4 mg/kg) may reduce the pain and stress

of newborn circumcision.4“"*" However, reported’

experience with local anesthesia in newborn: cir-
cumcision is limited, and the procedure is not with-
out risk (see “Complications”),

CONTRAINDICATIONS, COMPLICATIONS,
INFORMED CONSENT

Circumcision is contraindicated in an unstable

or sick infant, Infants with genital anomalies, in-

cluding hypospadias, should not be circumcised be-
cause the foreskin may later be needed for surgical
correction of the anomalies. Appropriate laboratory
studies should be performed when there is a family
history of bleeding disorders. Infants who have
demonstrated an uncomplicated transition to ex-
trauterine life are considered stable, Signs of sta-
bility include normal feeding and elimination and
maintenarice of normal_body temperature: without
an inéubator or radiant warmer. A-period. of obser-
vation may allow for recognition of abnormalities
or illnesses (eg, hyperbilirubinemia, infection, or
manifest bleeding disorder} that should be ad-
dressed before elective surgery. It is prudent to wait
until a premature infant meets criteria for discharge
before performing circumcision,

The exact incidence of postoperative complica-
tions is ‘unknown,’ but large series indicate that
the rate is low, approximately 0.2% to 0.696 4445.61.62
‘The most common complications are local infection
and bleeding, Deaths attributable to newborn. cir-
cumeision are rare; there were no deaths in 600 000
circumcisions in: New York City” or in 175000
circumeisions in US Army howpitale,* A commu-
nication published in 1979 reported one death in.
the United States due to cireumcigion in 1978, and
the authors’ review of the literature during the

’ previous 25 years documented two previous deaths

due to this procedure,”

Complications due to local anesthesia are rare
and consist mainly of hematomas and local skin
necrosis.4"4*495 Llowever, even a small dose of
lidocaine can result in blood levels high enough ta
produce measurable systemic responses in neo-

390 CIRCUMCISION

nates,*5*5 Local anesthesia adds an element of risk
and date. regarding its use have not been reported

‘in large numbers of eases, Circumferential anes-*

thesia may be hazardous. It would be prudent to
obtain-more data from large controlled series-before
advocating jocal anesthesia as an integral part of
newborn circumcision.

When considering circumcision: of their infant
son, parents should be fully informed of the possible
benefits and potential risks of newborn eircumei-
sion, beth with and without local anesthesia. In
addition te the médical aspects, other factors will
affect the parents’ decisions, including esthetics,
religion, cultural attitudes, social pressures, and
tradition.

SUMMARY

Properly performed newborn circumcision pre-
vents phimosis, paraphimesis, and balanoposthitis
and. has been shown to decrease the incidence of
cancer of the penis among US men, It may result
in a decreased incidence of urinary tract infection.
However, in the absence of well-designed prospec-
tive studies, conclusions regarding the relationship

of urinary tract infection to circumcision are ten-

tative. An Increased incidence of cancer of the
cervix has been found in sexual partners of uncir-
cumcised men infected with human papillomavirus,
Evidence concerning the association of sexually
transmitted diseases and circumcision is: conflict-
ing.

Newborn circumcision is a rapid and generally
safe procedure when performed by an experienced
operator, It is an elective procedure to be performed
only if an infant is stable and healthy, Infants
respond to the procedure with transient behavioral
and physiologic changes.

Local anesthesia (dorsal penile nerve block) may
teduce the observed physiologic response to new-

-born circtrmeision, It also has its own inherent

risks. However, reports of extensive experience or
follow-up with the technique in newborns are lack-
ing.

Newborn circumcision has potential medical ben-
efits and advantages as well as disadvantages and

- risks. When circumcision is being considered, the '

benefits and risks should be explained to the par-
ents and informed consent obtained.

AAP Task Force on CrrcuMcIsion
Edgar J. Schoen, MD, Chairman

Glen Anderson, MD

Constance Bohon, MD

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i, Maurice Wakeman, MD
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 28 of 35 PagelD: 423

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Policy Statement RE9148
_ Report of the Task Force an Circumcision

Under the heading of "Urinary Tract Infections" (line 6, page

389), "men" should be changed to “infant boys.” The

complete statement should now read:

“ Beginning in‘'1985, studies conducted at US Army

hospitals involving more than 200 000 infant boys showed
a greater than tenfold increase in urinary tract
infections in uncircumcised compared with circumcised
male infants; moreover, as the rate of circumcision
declined throughout the years, the incidence of urinary
tract infection increased.

The Task Force on Circumcision would also like to acknowledge
the following for their. provision of expert advice:
David 1. ‘Mininberg, MD, FAAP, Section -Liaison
‘Jatome O, Klein, MD, FAAP
Edward A. Mortimer, Ir, MD, FAAP
Case 3:21-cv-17099-ZNQ-LHG Document 13 Filed 11/29/21 Page 30 of 35 PagelD: 425

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